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From:           Lisa Drain
To:             Lori Purifoy
Subject:        Insight to CCI Director"s Character
Date:           Saturday, March 19, 2022 10:49:53 AM


CAUTION - EXTERNAL:

Ms. Purifoy,

I am writing to you in order to pass on a comment made to me regarding District Judge Janis
Graham Jack by DFPS Child Care Investigations Division Director Justin Lewis. The
comment I am referring to is Text 3 of 3, though I have included all texts exchanged on
Saturday March 12, 2022 between him and myself for context. I did black out the name of a
minor child he references (a child known to him, not related to DFPS).

I am providing this text as it may or may not be of interest to Judge Jack. The language is
insulting and may be considered threatening. Please believe that my intention is not to attempt
to cause any harm to her by sharing this.

The reason I am sharing this with you is because I feel Justin Lewis does not respect the foster
care litigation process and I have lost all professional confidence in him due to recent events
(finalized by a conversation that occurred last night between us). I have 15 years of
professional child welfare experience, however I burned out last year. While I have not
worked for DFPS in over a year, I am invested in our children being better served because
they continue to be failed. This will not end if DFPS leadership continues to refuse
accountability for systemic failures, disregard the guidance provided by legislature, and fail to
meet very basic expectations set by the court.

I am not asking for anything in response, but am available if verification, additional
information, or context is needed.

Thank you for your time,

Lisa Drain

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